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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
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				Go to Today february, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				13feb10:00 am- 4:00 pmOral Arguments
							Event DetailsMonday, February 13, 2017
10:00 AM


	S17A0039 The Merchant Law Firm, P.C. v. Emerson, Judge et al.
	S16G0743 Martin v. Six Flags Over Georgia II, LP et al.
	S16G0750 Six Flags over Georgia [...]
							
							
									Event Details
									Monday, February 13, 2017
10:00 AM

S17A0039 The Merchant Law Firm, P.C. v. Emerson, Judge et al.
S16G0743 Martin v. Six Flags Over Georgia II, LP et al.
S16G0750 Six Flags over Georgia II LP et al. v. Martin
S17A0388 Bryant v. The State

2:00 PM

S17A0459 Mitchell v. The State
S17A0350 The State v. Clark

&nbsp;


								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
				2/8/17 – CHIEF JUDGE MCBRIDE TO HEAR GA SUPREME COURT CASE
						
					
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				2/2/17 – JUDGE SEELIGER TO HEAR GEORGIA SUPREME COURT CASE
						
				
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